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                                                  ACKNOWLEDGMENT AND NOTICE OF APPEARANCE

Short Title: Bromfield-Thompson v. American University of Antigua                                                      Docket No.: 20-3855

Lead Counsel of Record (name/firm) or Pro se Party (name): Robert A. Burgoyne, Perkins Coie LLP

Appearance for (party/designation): National Board of Medical Examiners (listed as "NBME" in caption of plaintiff's complaint), Defendant/Appellee

                                                 DOCKET SHEET ACKNOWLEDGMENT/AMENDMENTS

Caption as indicated is:
( ✔ ) Correct
( ) Incorrect. See attached caption page with corrections.

     Appellate Designation is:
( ✔ ) Correct
( ) Incorrect. The following parties do not wish to participate in this appeal:
         Parties:
( ) Incorrect. Please change the following parties= designations:
         Party                                        Correct Designation


Contact Information for Lead Counsel/Pro Se Party is:
( ✔ ) Correct
( ) Incorrect or Incomplete. As an e-filer, I have updated my contact information in the PACER AManage My Account@ screen.

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                                                                           RELATED CASES

( ✔ ) This case has not been before this Court previously.
( ) This case has been before this Court previously. The short title, docket number, and citation are:

( ) Matters related to this appeal or involving the same issue have been or presently are before this Court. The short titles,
docket numbers, and citations are:


                                                                           CERTIFICATION

I certify that ( ✔ ) I am admitted to practice in this Court and, if required by LR 46.1(a)(2), have renewed my admission on
04/04/2016                 OR that ( ) I applied for admission on                                       or renewal on
                           . If the Court has not yet admitted me or approved my renewal, I have completed Addendum A.
Signature of Lead Counsel of Record: /s/ Robert A. Burgoyne
Type or Print Name: Robert A. Burgoyne
          OR
Signature of pro se litigant:
Type or Print Name:
( ) I am a pro se litigant who is not an attorney.
( ) I am an incarcerated pro se litigant.
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                            CERTIFICATE OF SERVICE

         I certify that on November 30, 2020, an electronic copy of the foregoing

document was filed with the Clerk of Court for the United States Court of Appeals

for the Second Circuit using the appellate CM/ECF system. I further certify that

counsel for American University of Antigua and Manipal Education Americas,

LLC is a registered CM/ECF user and that service will be accomplished by the

appellate CM/ECF system.

         I certify that a true and correct copy of the foregoing document is being

served on pro se plaintiff-appellant Debbie-Ann Bromfield-Thompson on

November 30, 2020, by first class mail, postage prepaid, addressed to:


         Debbie Ann Bromfield-Thompson
         1405 Kennedy Street NW
         Washington, DC 20011

                                                      /s/ Robert A. Burgoyne




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